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Case 3:10-cv-03561-WHA Document 73 Filed 01/13/11 Page 1 of 2

Mark H. Francis

King & Spalding LLP

1185 Avenue of the Americas
New York, New York 10036

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(212) §56-2117 Ny y ep .

  
 
 

UNITED STATES DISTRIT GY eh / ID
/:
NORTHERN DISTRICT OF Co lip, <9
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Caf to

ORACLE AMERICA, INC.,

CASE NO, 3:10-cv-03561 WHA
Plaintiff(s),
Vv. APPLICATION FOR

ADMISSION OF ATTORNEY
GOOGLE INC., PRO WAC VICE

Defendant(s). /

Pursuant to Civil L.R. 11-3, Mark H. Francis , an active member in

good standing of the bar of {J.$.D.C. for the Southern District of N.Y. , hereby applies
for admission to practice in the Northern District of California on a pro hac vice basis
representing Google Inc. in the above-entitled action.
In support of this application, | certify on oath that:
l. I am an active member in good standing of a United States Court or of the highest
court of another State or the District of Columbia, as indicated above;
2. I agree to abide by the Standards of Professional Conduct set forth in Civil Local
Rule 11-4, to comply with General Order No. 45, [Electronic Case Filing, and to
become familiar with the Local Rules and the Alternative Dispute Resolution
programs of this Court; and,
3. An attorney who is a member of the bar of this Court in good standing and who
maintains an office within the State of California has been designated as co-
counsel in the above-entitled action. The name, address and telephone number of

that attorney is:

Donald F. Zimmer, King & Spalding LLP, 101 Second Street - Suite 2300
San Francisco, CA 94105. Tel: 415.318.1200

I declare under penalty of perjury that the foregoing is true and correct.

Dated: 01/03/2011 yal Coou/ ~
JRIGI

 

 

 
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Court Mase: U.S. District Court, NDCA
Division:

Receipt Numbers 24611055014

Cashier ID: alwaceh

Transaction Dates 81/13/2811

Payer Name: KING AND SPALDING LLP

 

PRO WAC VICE

Fors MARK H FRANCIS

Case/Party: D-CAN-3-11-AT-PROHAC-B81
Amount: $275. 08

 

PAPER CHECK CONVERSION
Check/Honey Order Nua: 643995
fet Tendereds $275.08

Total Due: $275.88
Total Tendered: $275.60
Change Amt: $8. 66

C18-d561 WHA

 

 

Checks and drafts are accepted

subject to collections and full

i credit will only be given when the
check or draft has been accepted by

the financial institution on which

i it was drawn.

 
